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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

__________________________________________
                                          :
XCLUSIVE-LEE, INC.,                       :
                                          :
      Plaintiff,                          :
                                          :
v.                                        :                   Civil Action No.: 19-cv-520
                                          :
JELENA NOURA “GIGI” HADID,                :                   COMPLAINT AND JURY
                                          :                   DEMAND
      Defendant.                          :
                                          :
__________________________________________:


                      COMPLAINT FOR COPYRIGHT INFRINGEMENT

       Plaintiff, XCLUSIVE-LEE, INC. (“Xclusive” or “Plaintiff”), brings this complaint in the

United States District Court for the Eastern District of New York against JELENA NOURA

“GIGI” HADID (“Hadid” or “Defendant”), alleging as follows:


                                             PARTIES

1. Xclusive is a New York Domestic Business Corporation with a principal place of business in

    Rego Park, New York.

2. Hadid is an American fashion model. In 2016, Hadid was named International Model of the

    Year by British Fashion Council. Hadid has modeled for Versace, Chanel, Elie Saab, Fendi,

    Marc Jacobs, Anna Sui, Miu Miu, Balmain, Diane Von Furstenberg, Tommy Hilfiger, Fenty,

    Puma, Isabel Marant, and Giambattista Valli. Hadid has also starred in advertising

    campaigns for Guess, Versace, Penshoppe, Balmain F/W 2015, Topshop, Max Mara, and

    Stuart Weitzman. Hadid has appeared on the covers of magazines such as Vogue (United

    States, Paris, Italy, Britain, Japan, Spain, Australia, Brazil, the Netherlands, Germany, Italy,


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       China), Schön!, Numéro, Allure, W Magazine and Teen Vogue as well as WSJ Magazine,

       Elle Canada, Dazed and Harper’s Bazaar.1 Hadid maintains and is personally responsible

       for her official Instagram account, which has over 44 million followers worldwide. Hadid

       resides in New York, New York.


                                               JURISDICTION AND VENUE

3. This is a civil action seeking damages for copyright infringement under the copyright laws of

       the United States (17 U.S.C. § 101 et seq.).

4. This Court has jurisdiction under 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1331 (federal

       question); and 28 U.S.C. § 1338(a) (copyright).

5. Defendant is subject to personal jurisdiction in New York.

6. Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a) because the

       events giving rise to the claims occurred in this district, Defendant engaged in infringement

       in this district, Plaintiff resides in this district, and Defendant is subject to personal

       jurisdiction in this district.

7. This Court also has personal jurisdiction over Defendant, and venue in this District is proper

       under 28 U.S.C. § 1400(a). This Court also has personal jurisdiction over Defendant, and

       venue in this District is proper under 28 U.S.C. § 1400(a).




1   https://en.wikipedia.org/wiki/Gigi_Hadid


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                  FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

8. Xclusive is the copyright holder of “Gigi Hadid on Oct 11, 2018” (“Copyrighted

   Photograph”), which was captured on October 11, 2018 in New York City. [Exhibit 1].

9. On October 12, 2018, Hadid copied and uploaded Copyrighted Photograph to Hadid’s

    Instagram account.

10. As a result of Hadid’s actions described in Paragraph 11, Copyrighted Photograph was

    posted and publicly displayed to the following URLs:

   •    www.instagram.com/gigihadid/?hl-en. (Last visited October 15, 2018) [Exhibit 3]

   •   www.instagram.com/p/Boz7ASBHBDt/?hl=en&taken-by=gigihadid (Last visited

       October 15, 2018). [Exhibit 4]. (together “Instagram Posts”)

11. Hadid copied and posted Copyrighted Photograph to Hadid’s Instagram account without

    license or permission from Xclusive.

12. Hadid’s Instagram account is followed by more than forty-three million (43,000,000)

    individuals throughout the world. [Exhibit 4].

13. More than 1.6 million (1,600,00) followers commented on Instagram Posts within four days

    of October 12, 2018. [Exhibit 4].

14. Prior to October 12, 2018, Hadid had first-hand knowledge that copying and posting

    photographs, of herself or other subject matters, to her Instagram or other social media

    accounts that she did not properly license or otherwise receive permission from the copyright

    holder constituted copyright infringement.

15. Specifically, Hadid was named as a defendant and served with a copy of a complaint and

    summons in a suit alleging copyright infringement, Peter Cepeda v. Jelena Noura “Gigi”

    Hadid and IMG Worldwide, Inc., 1:17-cv-00989-LMB-MSN (E.D. Va.) (2017).



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16. Although the case was settled prior to the discovery stage of litigation, the facts alleged in

    Cepeda are nearly identical to the facts alleged in the present case, including the allegation

    Hadid copied and posted Plaintiff Cepeda’s copyrighted photograph (of Hadid on a public

    street in New York City) to Hadid’s Instagram and Twitter accounts without license or

    permission from Cepeda.

17. As of the date of this filing, Hadid’s Instagram account includes at least fifty (50) examples

    of uncredited photographs of Hadid in public, at press events, or on the runway. [Exhibit 5].

    Most if not all of these photographs were posted by Hadid without license or permission

    from the copyright holder.




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  COUNT I: INFRINGEMENT OF COPYRIGHT PURSUANT TO 17 U.S.C. § 101 ET SEQ.

18. Xclusive incorporates herein by this reference each and every allegation contained in each

    paragraph above.

19. Xclusive is the copyright owner or licensee of exclusive rights under United States copyright

    with respect to Copyrighted Photograph, which is the subject of a valid and complete

    application before the United States Copyright Office for Certificate of Copyright

    Registration by the Register of Copyrights.

20. Among the exclusive rights granted to each Xclusive under the Copyright Act are the

    exclusive rights to reproduce and distribute the Copyrighted Photograph to the public.

21. Xclusive is informed and believes Hadid, without the permission or consent of Xclusive,

    copied and used Copyrighted Photograph on Hadid’s Instagram account. In doing so, Hadid

    violated Xclusive’s exclusive rights of reproduction and distribution. Hadid’s actions

    constitute infringement of Xclusive’s copyright and exclusive rights under copyright.

22. Xclusive is informed and believes that the foregoing act of infringement was willful and

    intentional, in disregard of and with indifference to the rights of Xclusive.

23. As a result of Hadid’s infringement of Xclusive’s copyright and exclusive rights under

    copyright, Xclusive is entitled to statutory damages, including any profits realized by Hadid

    attributable to the infringement, pursuant to 17 U.S.C. § 504 for Hadid’s infringement of

    Copyrighted Photograph.




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                        COUNT II: CONTRIBUTORY INFRINGEMENT

24. Xclusive is informed and believes that Hadid, without the permission or consent of Xclusive,

    knowingly made available Copyrighted Photograph to innumerable individuals and media

    outlets by posting Copyrighted Photograph to Hadid’s 43 million (43,000,000) Instagram

    followers.

25. Xclusive is informed and believes that Hadid, without the permission or consent of Xclusive,

    had knowledge or reason to know of such contributory infringement.

26. As a result of Hadid’s actions, Xclusive is entitled to actual damages or such other and

    further relief as is just and proper.

                                       PRAYER FOR RELIEF

       WHEREFORE, Xclusive prays for judgment against Hadid as follows:

A. Declaring that Hadid’s unauthorized conduct violates Xclusive’s rights under the Federal

    Copyright Act;

B. Immediately and permanently enjoining Hadid, its officers, directors, agents, servants,

    employees, representatives, attorneys, related companies, successors, assigns, and all others

    in active concert or participation with them from copying and republishing Xclusive’s

    Copyrighted Photograph without consent or otherwise infringing Xclusive’s copyright or

    other rights in any manner;

C. Ordering Hadid to account to Xclusive for all gains, profits, and advantages derived by

    Hadid by their infringement of Xclusive’s copyright or such damages as are proper, and

    since Hadid intentionally infringed Xclusive’s copyright, for the maximum allowable

    statutory damages for each violation;




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D. Awarding Xclusive actual and/or statutory damages for Hadid’s copyright infringement in an

     amount to be determined at trial;

E. Awarding Xclusive his costs, reasonable attorney’s fees, and disbursements in this action,

     pursuant to 17 U.S.C. § 505; and

F. Awarding Xclusive such other and further relief as is just and proper.

                                          JURY DEMAND

         Xclusive hereby demands a trial by jury on all claims for which there is a right to jury

trial.

                                                       Respectfully submitted,

Dated: January 28, 2019                                REESE LLP

                                                       /s/ Michael R. Reese
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                                                           -   and -

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